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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

  UNITED STATES OF AMERICA
                                                         Case No.: 9:22-MJ-08332-BER-1
  v.

  SEALED SEARCH WARRANT
  _________________________________/

        CBS BROADCASTING INC.’S MOTION TO INTERVENE FOR THE LIMITED
       PURPOSE OF OBTAINING ACCESS TO SEARCH WARRANT COURT RECORDS,
          ADOPTION OF MOTION FOR ACCESS AND MEMORANDUM OF LAW

          CBS Broadcasting Inc.1 (herein referred to as “CBS News”) hereby moves to intervene in

  this matter for the limited purpose of joining Intervenor The New York Times Company in seeking

  to unseal and obtain access to all documents filed with this Court related to the search warrant

  executed on Monday, August 8, 2022, at former President Donald J. Trump’s Mar-a-Lago Palm

  Beach, Florida, club and residence. See ECF 8, 9 (“The Times’ Motion”). CBS also hereby adopts

  this substantive motion for access to court records.

          Earlier today, this Court recognized the right of the news media to intervene in this matter,

  granting The New York Times Company leave to intervene. See ECF 11. It further ordered the

  United States to respond to all pending motions to unseal in one omnibus response by 5:00 p.m.

  on August 15, 2022. See ECF 12. Thus, granting the instant motion, which raises no additional

  substantive legal arguments beyond those raised in The Times’ Motion, will not prejudice any




  1
    CBS Broadcasting Inc., on behalf of CBS News, is an indirect, wholly owned subsidiary of
  Paramount Global. Paramount Global is a publicly traded company. National Amusements, Inc.,
  a privately held company, beneficially owns the majority of the Class A voting stock of Paramount
  Global. Paramount Global is not aware of any publicly held entity owning 10% or more of its total
  common stock, i.e., Class A and Class B on a combined basis.
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  government response deadlines. Additionally, the Government has now filed a motion to unseal

  limited warrant materials. See ECF 18.

         Additional grounds for this motion are set forth in the below memorandum of law.

                                    MEMORANDUM OF LAW

  I.     CBS News Has Standing to Intervene.

         CBS News produces, broadcasts, and streams news, public affairs and entertainment

  programming. Its produces morning, evening, and weekend news and public affairs programming,

  such as CBS MORNINGS, the CBS EVENING NEWS, CBS SUNDAY MORNING, and FACE

  THE NATION, as well as news and public affairs newsmagazine shows, such as “60 MINUTES”

  and “48 HOURS.” CBS News also operates twenty-nine television stations in fifteen of the top

  twenty major markets across the country, and operates CBS News Streaming for 24-hour news. It

  also operates the news website CBSNews.com. In gathering and reporting news, CBS News uses

  public records, including court records, to inform the public of newsworthy events. It has reported

  on President Trump before and throughout his presidential administration. It continues to report

  on President Trump post-presidency, including reporting on the August 8, 2022, search warrant

  execution at Mar-a-Lago.

         The Eleventh Circuit has recognized the news media’s right to intervene in matters to

  challenge the denial of access to court records. See, e.g., United States v. Ellis, 90 F.3d 447, 449

  (11th Cir. 1996), cert. denied, 519 U.S. 1118 (1997); Newman v. Graddick, 696 F.2d 796, 800

  (11th Cir. 1983); see also Globe Newspaper Co. v. Super. Ct., 457 U.S. 596, 609 n.25 (1982) (“the

  press and general public ‘must be given an opportunity to be heard on the question of their

  exclusion.’” (citation omitted)). Only through intervention can the public’s right to open courts

  and records be vindicated. See Newman, 696 F.2d at 800.



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         There is no question that CBS News as a news organization—like The New York Times

  Company—has standing to intervene to seek access to all search warrant records related to the

  August 8, 2022, events at Mar-a-Lago.

  II.    All Subject Search Warrant Records Should Be Released.

         For all the reasons stated in The Times’ Motion, which are specifically adopted and

  incorporated herein by reference, this Court should unseal all court records related to the subject

  search warrant.

  III.   Conclusion.

         CBS News respectfully requests that this Court grant this motion to intervene and unseal

  or otherwise make publicly available all search warrant-related court records regarding the events

  of August 8, 2022, at Mar-a-Lago.

                                    REQUEST FOR HEARING

         Pursuant to Local Rule 7.1(b)(2), CBS News requests a hearing be set for this motion.2

  Oral argument will aid this Court in assessing any further basis to continue to keep these extremely

  newsworthy records secret and allow this Court to directly inquire into any government

  justification for doing so. CBS News estimates the time required for argument to be sixty (60)

  minutes.

         LOCAL RULE 7.1(a)(3) CERTIFICATE OF GOOD-FAITH CONFERENCE

         Undersigned counsel for hereby certifies that on the afternoon of August 10, 2022, she

  made reasonable efforts to confer with the Assistant United States Attorney for the Southern

  District of Florida handling the matter, leaving a message with their office about news media




  2
   CBS News and The New York Times Company are represented by the same legal counsel in this
  matter, which would argue concurrently for both at any set hearing.
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  intervention. She has yet to receive a return telephone call. As set forth in ECF 18, the

  Government does not oppose release of certain search warrant records identified therein.

  Dated: August 11, 2022                      Respectfully submitted,

                                              THOMAS & LOCICERO PL

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                                   CERTIFICATE OF SERVICE

         I hereby certify that on August 11, 2022, a true and correct copy of the foregoing document

  is being electronically filed and will be furnished via CM/ECF. A copy of the foregoing is also

  being served by email and first-class mail, postage paid, to:

         Juan Antonio Gonzalez
         U.S. Attorney’s Office
         Southern District of Florida
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         Miami, FL 33132-2131
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                                                       /s/ Carol Jean LoCicero
                                                       Carol Jean LoCicero




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